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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA

SYMBOLOGY INNOVATIONS, LLC,
                                                               CASE NO. 6:16-cv-2202
       Plaintiff,
                                                                   PATENT CASE
v.
                                                            JURY TRIAL DEMANDED
MATTEL, INC.,
                                                             LEAD CASE: 6:16-cv-2197
       Defendant.


      DEFENDANT MATTEL, INC.’S ANSWER, AFFIRMATIVE DEFENSES, AND
              COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

       Defendant Mattel, Inc. (“Mattel”) files this Answer and Counterclaims to Plaintiff

Symbology     Innovations,   LLC’s    (“Plaintiff”)   Complaint   for   Infringement   of   Patent

(“Complaint”). Mattel denies the allegations and characterizations in Plaintiff’s Complaint unless

expressly admitted in the following paragraphs.

                                 NATURE OF THE ACTION

       1.      Mattel admits that the Complaint purports to set forth an action for patent

infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq., and that the

Plaintiff purports to seek injunctive relief as well as damages, attorney’s fees, and costs. Mattel

further admits that a purported copy of U.S. Patent No. 8,424,752 (the “’752 Patent”) is attached

to the Complaint as Exhibit A; U.S. Patent No. 8,651,369 (the “’369 Patent”) is attached to the

Complaint as Exhibit B; U.S. Patent No. 8,936,190 (the “’190 Patent”) is attached to the

Complaint as Exhibit C; and U.S. Patent No. 7,992,773 (the “’773 Patent”) is attached to the

Complaint as Exhibit D (collectively, the “Patents-in-Suit”). Mattel denies it has committed or is

committing acts of infringement and/or “profiting, in an illegal and unauthorized manner and

without authorization and/or of the consent from Symbology Innovations” such that Plaintiff is


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entitled to any relief from Mattel. Mattel denies any remaining allegations in Paragraph 1 of the

Complaint.

                                         THE PARTIES

       2.      Mattel is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 2 of the Complaint and, on that basis, denies all such

allegations.

       3.      Mattel admits the allegations in Paragraph 3 of the Complaint.

                                JURISDICTION AND VENUE

       4.      Mattel admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       5.      Mattel does not contest whether personal jurisdiction over it properly lies in this

District in this case, or that it conducts business in the State of Florida. Mattel denies it has

committed or is committing acts of infringement within the State of Florida or in this District

and, on that basis, denies the remaining allegations of Paragraph 5 of the Complaint.

       6.      Mattel does not contest whether personal jurisdiction over it properly lies in this

District in this case, or that it conducts business in the State of Florida. Mattel denies it has

committed or is committing acts of infringement within Florida or in this District and, on that

basis, denies the remaining allegations of Paragraph 6 of the Complaint.

       7.      Mattel admits that it conducts business in the State of Florida and in this District.

Mattel denies it has committed or is committing acts of infringement within Florida or in this

District and, on that basis, denies the remaining allegations of Paragraph 7 of the Complaint.

       8.      Mattel admits that it conducts business in the State of Florida and in this District.

Mattel denies it has committed or is committing acts of infringement within Florida or in this



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District and, on that basis, denies the remaining allegations of Paragraph 8 of the Complaint.

        9.      Mattel denies it has committed or is committing acts of infringement within

Florida or in this District and, on that basis, denies the allegations of Paragraph 9 of the

Complaint.

        10.     Mattel admits that venue may be proper but denies that venue is convenient in this

judicial district as to Mattel.

                                  FACTUAL ALLEGATIONS

                                           ‘752 Patent

        11.     Mattel admits that the purported copy of the ‘752 Patent that is attached to the

Complaint as Exhibit A indicates that it issued on April 23, 2013 and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” Mattel is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 11 of the Complaint and, on that basis, denies all such allegations.

        12.     Mattel is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 12 of the Complaint and, on that basis, denies all such

allegations.

        13.     Mattel admits that the purported copy of the ‘752 Patent that is attached to the

Complaint as Exhibit A appears to contain three independent claims and twenty-five dependent

claims. Mattel denies it has committed or is committing acts of infringement and, on that basis,

denies the remaining allegations of Paragraph 13 of the Complaint.

        14.     Mattel denies that the claims of the ‘752 Patent constitute inventions or patent

subject matter. Mattel is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 14 of the Complaint and, on that basis, denies all



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such allegations.

                                           ‘369 Patent

       15.     Mattel admits that the purported copy of the ‘369 Patent that is attached to the

Complaint as Exhibit B indicates that it issued on February 18, 2014, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” Mattel is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 15 of the Complaint and, on that basis, denies all such allegations.

       16.     Mattel is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 16 of the Complaint and, on that basis, denies all such

allegations.

       17.     Mattel admits that the purported copy of the ‘369 Patent that is attached to the

Complaint as Exhibit B appears to contain three independent claims and twenty-five dependent

claims. Mattel denies it has committed or is committing acts of infringement and, on that basis,

denies the remaining allegations of Paragraph 17 of the Complaint.

       18.     Mattel denies that the claims of the ‘369 Patent constitute inventions or patent

subject matter. Mattel is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 18 of the Complaint and, on that basis, denies all

such allegations.

                                           ‘190 Patent

       19.     Mattel admits that the purported copy of the ‘190 Patent that is attached to the

Complaint as Exhibit C indicates that it issued on January 20, 2015, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” Mattel is

without knowledge or information sufficient to form a belief as to the truth of the remaining



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allegations in Paragraph 19 of the Complaint and, on that basis, denies all such allegations.

       20.     Mattel is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 20 of the Complaint and, on that basis, denies all such

allegations.

       21.     Mattel admits that the purported copy of the ‘190 Patent that is attached to the

Complaint as Exhibit C appears to contain three independent claims and seventeen dependent

claims. Mattel denies it has committed or is committing acts of infringement and, on that basis,

denies the remaining allegations of Paragraph 21 of the Complaint.

       22.     Mattel denies that the claims of the ‘190 Patent constitute inventions or patent

subject matter. Mattel is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 22 of the Complaint and, on that basis, denies all

such allegations.

                                           ’773 Patent

       23.     Mattel admits that the purported copy of the ‘773 Patent that is attached to the

Complaint as Exhibit D indicates that it issued on August 9, 2011, and is entitled “System and

Method for Presenting Information About an Object on a Portable Electronic Device.” Mattel is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 23 of the Complaint and, on that basis, denies all such allegations.

       24.     Mattel is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 24 of the Complaint and, on that basis, denies all such

allegations.

       25.     Mattel admits that the purported copy of the ‘773 Patent that is attached to the

Complaint as Exhibit D appears to contain three independent claims and fifteen dependent



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claims. Mattel denies it has committed or is committing acts of infringement and, on that basis,

denies the remaining allegations of Paragraph 25 of the Complaint.

        26.     Mattel denies that the claims of the ‘773 Patent constitute inventions or patent

subject matter. Mattel is without knowledge or information sufficient to form a belief as to the

truth of the remaining allegations in Paragraph 26 of the Complaint and, on that basis, denies all

such allegations.

                                     COUNT I
                    [ALLEGED] INFRINGEMENT OF THE ‘752 PATENT

        27.     Mattel incorporates by reference each of its responses set forth in Paragraphs 1-26

above as if fully set forth herein.

        28.     Mattel denies the allegations in Paragraph 28 of the Complaint.

        29.     Mattel admits that it has had knowledge of the ‘752 Patent since the time it was

served with the Complaint.

        30.     Mattel denies the allegations in Paragraph 30 of the Complaint.

        31.     Mattel admits that a Quick Response (QR) code has been used or incorporated on

some product packaging and/or associated with some products and/or services. Mattel denies that

it has committed or is committing acts of infringement in this district or elsewhere and, on that

basis, denies any remaining allegations in Paragraph 31 of the Complaint.

        32.     Mattel incorporates its admissions, averments, and denials in Paragraph 31 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 32 of the Complaint and, on that basis,

denies all such allegations.

        33.     Mattel incorporates its admissions, averments, and denials in Paragraph 31 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief


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as to the truth of the remaining allegations in Paragraph 33 of the Complaint and, on that basis,

denies all such allegations.

        34.     Mattel incorporates its admissions, averments, and denials in Paragraph 31 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 34 of the Complaint and, on that basis,

denies all such allegations.

        35.     Mattel incorporates its admissions, averments, and denials in Paragraph 31 above

as if set forth fully herein. Mattel admits that information about Mattel’s products and services is

available on its websites and can be viewed on a portable electronic device. Mattel is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 35 of the Complaint and, on that basis, denies all such allegations.

        36.     Mattel denies the allegations in Paragraph 36 of the Complaint.

        37.     Mattel denies the allegations in Paragraph 37 of the Complaint.

        38.     Mattel denies the allegations in Paragraph 38 of the Complaint.

        39.     Mattel denies the allegations in Paragraph 39 of the Complaint.

                                    COUNT II
                   [ALLEGED] INFRINGEMENT OF THE ‘369 PATENT

        40.     Mattel incorporates by reference each of its responses set forth in Paragraphs 1-39

above as if fully set forth herein.

        41.     Mattel denies the allegations in Paragraph 41 of the Complaint.

        42.     Mattel admits that it has had knowledge of the ‘369 Patent since the time it was

served with the Complaint.

        43.     Mattel denies the allegations in Paragraph 43 of the Complaint.

        44.     Mattel admits that a Quick Response (QR) code has been used or incorporated on

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some product packaging and/or associated with some products and/or services. Mattel denies that

it has committed or is committing acts of infringement in this district or elsewhere and, on that

basis, denies any remaining allegations in Paragraph 44 of the Complaint.

       45.     Mattel incorporates its admissions, averments, and denials in Paragraph 44 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 45 of the Complaint and, on that basis,

denies all such allegations.

       46.     Mattel incorporates its admissions, averments, and denials in Paragraph 44 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 46 of the Complaint and, on that basis,

denies all such allegations.

       47.     Mattel incorporates its admissions, averments, and denials in Paragraph 44 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 47 of the Complaint and, on that basis,

denies all such allegations.

       48.     Mattel incorporates its admissions, averments, and denials in Paragraph 44 above

as if set forth fully herein. Mattel admits that information about Mattel’s products and services is

available on its websites and can be viewed on a portable electronic device. Mattel is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations

in Paragraph 48 of the Complaint and, on that basis, denies all such allegations.

       49.     Mattel denies the allegations in Paragraph 49 of the Complaint.

       50.     Mattel denies the allegations in Paragraph 50 of the Complaint.

       51.     Mattel denies the allegations in Paragraph 51 of the Complaint.



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        52.     Mattel denies the allegations in Paragraph 52 of the Complaint.

                                   COUNT III
                   [ALLEGED] INFRINGEMENT OF THE ‘190 PATENT

        53.     Mattel incorporates by reference each of its responses set forth in Paragraphs 1-52

above as if fully set forth herein.

        54.     Mattel denies the allegations in Paragraph 54 of the Complaint.

        55.     Mattel admits that it has had knowledge of the ‘190 Patent since the time it was

served with the Complaint.

        56.     Mattel denies the allegations in Paragraph 56 of the Complaint.

        57.     Mattel admits that a Quick Response (QR) code has been used or incorporated on

some product packaging and/or associated with some products and/or services. Mattel denies that

it has committed or is committing acts of infringement in this district or elsewhere and, on that

basis, denies any remaining allegations in Paragraph 57 of the Complaint.

        58.     Mattel incorporates its admissions, averments, and denials in Paragraph 57 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 58 of the Complaint and, on that basis,

denies all such allegations.

        59.     Mattel incorporates its admissions, averments, and denials in Paragraph 57 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 59 of the Complaint and, on that basis,

denies all such allegations.

        60.     Mattel incorporates its admissions, averments, and denials in Paragraph 57 above

as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 60 of the Complaint and, on that basis,

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 denies all such allegations.

         61.     Mattel incorporates its admissions, averments, and denials in Paragraph 57 above

 as if set forth fully herein. Mattel admits that information about Mattel’s products and services is

 available on its websites and can be viewed on a portable electronic device. Mattel is without

 knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 in Paragraph 61 of the Complaint and, on that basis, denies all such allegations.

         62.     Mattel denies the allegations in Paragraph 62 of the Complaint.

         63.     Mattel denies the allegations in Paragraph 63 of the Complaint.

         64.     Mattel denies the allegations in Paragraph 64 of the Complaint.

         65.     Mattel denies the allegations in Paragraph 65 of the Complaint.

                                    COUNT IV
                    [ALLEGED] INFRINGEMENT OF THE ‘773 PATENT

         66.     Mattel incorporates by reference each of its responses set forth in Paragraphs 1-65

 above as if fully set forth herein.

         67.     Mattel denies the allegations in Paragraph 67 of the Complaint.

         68.     Mattel admits that it has had knowledge of the ‘773 Patent since the time it was

 served with the Complaint.

         69.     Mattel denies the allegations in Paragraph 69 of the Complaint.

         70.     Mattel admits that a Quick Response (QR) code has been used or incorporated on

 some product packaging and/or associated with some products and/or services. Mattel denies that

 it has committed or is committing acts of infringement in this district or elsewhere and, on that

 basis, denies any remaining allegations in Paragraph 70 of the Complaint.

         71.     Mattel incorporates its admissions, averments, and denials in Paragraph 70 above

 as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

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 as to the truth of the remaining allegations in Paragraph 71 of the Complaint and, on that basis,

 denies all such allegations.

        72.     Mattel incorporates its admissions, averments, and denials in Paragraph 70 above

 as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

 as to the truth of the remaining allegations in Paragraph 72 of the Complaint and, on that basis,

 denies all such allegations.

        73.     Mattel incorporates its admissions, averments, and denials in Paragraph 70 above

 as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

 as to the truth of the remaining allegations in Paragraph 73 of the Complaint and, on that basis,

 denies all such allegations.

        74.     Mattel incorporates its admissions, averments, and denials in Paragraph 70 above

 as if set forth fully herein. Mattel admits that information about Mattel’s products and services is

 available on its websites and can be viewed on a portable electronic device. Mattel is without

 knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 in Paragraph 74 of the Complaint and, on that basis, denies all such allegations.

        75.     Mattel incorporates its admissions, averments, and denials in Paragraph 70 above

 as if set forth fully herein. Mattel is without knowledge or information sufficient to form a belief

 as to the truth of the remaining allegations in Paragraph 75 of the Complaint and, on that basis,

 denies all such allegations.

        76.     Mattel denies the allegations in Paragraph 76 of the Complaint.

        77.     Mattel denies the allegations in Paragraph 77 of the Complaint.

        78.     Mattel denies the allegations in Paragraph 78 of the Complaint.

        79.     Mattel denies the allegations in Paragraph 79 of the Complaint.



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                          PLAINTIFF’S DEMAND FOR JURY TRIAL

         80.    Mattel is not required to provide a response to Plaintiff’s request for a trial by

 jury.

                                      PRAYER FOR RELIEF

         Mattel denies the Plaintiff is entitled to any relief from Mattel and denies all the

 allegations contained in Paragraphs (a)-(f) of Plaintiff’s Prayer for Relief.

                                    AFFIRMATIVE DEFENSES

         Mattel’s Affirmative Defenses are listed below. Mattel reserves the right to amend its

 answer to add additional Affirmative Defenses consistent with the facts discovered in this case.

                                FIRST AFFIRMATIVE DEFENSE

         Mattel has not infringed and does not infringe, under any theory of infringement

 (including directly (whether individually or jointly) or indirectly (whether contributorily or by

 inducement)), any valid, enforceable claim of the ’752, ’369, ’190 and/or ‘773 Patents

 (collectively, the “Asserted Patents”).

                              SECOND AFFIRMATIVE DEFENSE

         Each asserted claim of the Asserted Patents is invalid for failure to comply with one or

 more of the requirements of the United States Code, Title 35, including without limitation, 35

 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                               THIRD AFFIRMATIVE DEFENSE

         Plaintiff’s attempted enforcement of the Asserted Patents against Mattel is barred by the

 doctrine of inequitable conduct.

                              FOURTH AFFIRMATIVE DEFENSE

         To the extent that Plaintiff and any predecessors in interest to any of the Asserted Patents

 failed to properly mark any of their relevant products or materials as required by 35 U.S.C. §

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 287, or otherwise give proper notice that Mattel’s actions allegedly infringe the Asserted Patents,

 Mattel is not liable to Plaintiff for the acts alleged to have been performed before it received

 actual notice that it was allegedly infringing the Asserted Patents.

                               FIFTH AFFIRMATIVE DEFENSE

        To the extent that Plaintiff asserts that Mattel indirectly infringes, either by contributory

 infringement or inducement of infringement, Mattel is not liable to Plaintiff for the acts alleged

 to have been performed before Mattel knew that its actions would cause indirect infringement.

                               SIXTH AFFIRMATIVE DEFENSE

        Plaintiff’s attempted enforcement of the Asserted Patents against Mattel is barred by one

 or more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and unclean hands.

                             SEVENTH AFFIRMATIVE DEFENSE

        The claims of the Asserted Patents are not entitled to a scope sufficient to encompass any

 system employed or process practiced by Mattel.

                              EIGHTH AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

 among other things, Plaintiff has not stated a plausible allegation that Mattel makes, uses, or sells

 each claimed element of any asserted claim, or that Mattel directs or controls another entity to

 make, use, or sell any element that is not made, used, or sold by Mattel.

                               NINTH AFFIRMATIVE DEFENSE

        To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

 by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

 granted.

                               TENTH AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

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 Asserted Patents do not claim patentable subject matter under 35 U.S.C. § 101.

                            ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

 among other things, Plaintiff has not stated a plausible allegation that any method employed by

 Mattel: (1) captures a digital image; (2) detects symbology associated with the digital image; (3)

 decodes the symbology to obtain a decode string; or (4) sends the decode string to a remote

 server for processing as required by the Asserted Patents.

                                MATTEL’S COUNTERCLAIMS

          For its counterclaims against Plaintiff Symbology Innovations, LLC (“Symbology”),

 Counterclaim Plaintiff Mattel, Inc. (“Mattel”), alleges as follows:

                                             PARTIES

          1.     Counterclaim Plaintiff Mattel, Inc. is a corporation organized and existing under

 the laws of the State of Delaware, with offices located at 333 Continental Blvd., El Segundo, CA

 90245.

          2.     Upon information and belief based solely on Paragraph 2 of the Complaint as pled

 by Plaintiff, Counterclaim Defendant Symbology Innovations, LLC, is a limited liability

 company organized and existing under the laws of the State of Texas and maintains its principle

 place of business at 1400 Preston Road, Suite 400, Plano, Texas 75093.

                                         JURISDICTION

          3.     Mattel incorporates by reference Paragraphs 1–2 above.

          4.     These counterclaims arise under the patent laws of the United States, Title 35,

 United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

 and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

          5.     Symbology has consented to the personal jurisdiction of this Court at least by

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 commencing its action for patent infringement in this District, as set forth in its Complaint.

        6.      Based solely on Symbology’s filing of this action, venue is proper, though not

 necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                                              COUNT I

                   DECLARATION REGARDING NON-INFRINGEMENT

        7.      Mattel incorporates by reference Paragraphs 1–6 above.

        8.      Based on Symbology’s filing of this action and at least Mattel’s first affirmative

 defense, an actual controversy has arisen and now exists between the parties as to whether Mattel

 infringes the ’752, ’369, ’190, and/or ‘773 Patents (collectively, the “Asserted Patents”).

        9.      Mattel does not infringe Claim 1 of the Asserted Patents because, among other

 things, it does not: (1) capture a digital image; (2) detect symbology associated with the digital

 image; (3) decode the symbology to obtain a decode string; or (4) send the decode string to a

 remote server for processing.

        10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

 Mattel requests a declaration by the Court that Mattel has not infringed and does not infringe any

 claim of the Asserted Patents under any theory (including directly (whether individually or

 jointly) or indirectly (whether contributorily or by inducement)).

                                             COUNT II

                         DECLARATION REGARDING INVALIDITY

        11.     Mattel incorporates by reference Paragraphs 1–10 above.

        12.     Based on Symbology's filing of this action and at least Mattel’s Second

 Affirmative Defense, an actual controversy has arisen and now exists between the parties as to

 the validity of the claims of the Asserted Patents.



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        13.     The asserted claims of the ’752, ‘369, and ‘190 Patents are anticipated and/or

 rendered obvious by, inter alia, BarPoint.com, Neomedia’s Neo Reader, Microsoft’s Smart Tags,

 Android’s Shop Savvy, Red Laser, ScanBuy, U.S. Serial No. 60/118,051, U.S. Serial No.

 60/187,646, U.S. Serial No. 60/185,546, U.S. Patent Application 2008/0004978, U.S. Patent No.

 6,430,554, and/or U.S. Patent No. 6,651,053.

        14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

 Mattel requests a declaration by the Court claims of the Asserted Patents are invalid for failure to

 comply with one or more of the requirements of United States Code, Title 35, including without

 limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining

 thereto.

                                            COUNT III

                   DECLARATION REGARDING UNENFORCEABILITY
                         DUE TO INEQUITABLE CONDUCT

        15.     Mattel incorporates by reference Paragraphs 1–14 above.

        16.     Based on Symbology's filing of this action and at least Mattel’s Third Affirmative

 Defense, an actual controversy has arisen and now exists between the parties as to the

 enforceability of the claims of the Asserted Patents.

        17.     The named inventor, Leigh Rothschild, had knowledge of material, non-

 cumulative prior art regarding the Asserted Patents and, on information and belief, deliberately

 withheld the material, non-cumulative prior art from disclosure to the United States Patent and

 Trademark Office (“USPTO”) during prosecution of the Asserted Patents with the intent to

 deceive the examiner and the USPTO.

        18.     On information and belief, Reagan Innovations, LLC, assignee of the Asserted

 Patents, and/or the representatives associated with the filing and prosecution of the applications


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 for the Asserted Patents, had knowledge of material, non-cumulative prior art regarding the

 Asserted Patents and, on information and belief, deliberately withheld the material, non-

 cumulative prior art from disclosure to the USPTO with the intent to deceive the examiner and

 the USPTO.

        19.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

 Mattel requests a declaration by the Court that all claims of the Asserted Patents are

 unenforceable due to inequitable conduct because one or more of the individuals referenced

 above, with the intent to deceive the USPTO, failed to comply with the duty of candor to the

 USPTO, as set forth in 37 C.F.R. § 1.56, during prosecution of the applications that led to the

 issuance of the Asserted Patents.

        A. Background Facts Relating to Counterclaim of Unenforceability

                1. At the Time of Prosecution, Leigh Rothschild was Aware of Material,
                   Non-Cumulative Prior Art Related to Barcode Symbology, Including His
                   Own BarPoint System and Related Patents.

        20.     On information and belief, due to his long involvement with filing and

 prosecuting patent applications, Mr. Rothschild is familiar with policies and practices of the

 USPTO and its procedures, including its duty of candor. In particular, according to his personal

 LinkedIn page, Mr. Rothschild:

                is an established inventor who to date has been issued more then
                [sic] eighty US patents and has more than 150 patents pending
                worldwide. Mr. Rothschild’s first patent was conceived when he
                was 17 years of age and granted shortly thereafter.

 Exhibit A.

        21.     Moreover, Mr. Rothschild has long been familiar with prosecuting patents in the

 same field as Symbology’s characterization of the Asserted Patents, which Symbology alleges

 relates to barcode symbology, namely “Quick Response Codes (QR codes).” In an online profile,


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 Mr. Rothschild was quoted as saying:

                I have 60 patents—from computer servers to medical to 3D
                displays. Most of my inventions are related to technology, such as
                the method of tying QR codes to the internet….

 Exhibit B.

                       a. The Undisclosed BarPoint System

        22.     Mr. Rothschild’s involvement with barcode technology dates back more than a

 decade. On information and belief, in order to make money at alleged inventing, in the late 1990s

 and early 2000s, Mr. Rothschild started a few businesses, including BarPoint.com.

        23.     According to BarPoint.com’s 2001 Annual Report filed with the SEC:

                BarPoint is an online and wireless product information and
                shopping service provider which also develops mobile device
                software applications for consumers and businesses. BarPoint's
                product information and shopping service platform utilizes patent
                pending reverse search technology to enable users to search for
                product information using unique product identifiers, including
                universal product codes, known as UPCs or barcode numbers,
                catalog numbers and SKU numbers.

 Exhibit C.

        24.     On information and belief, Mr. Rothschild was deeply involved in the affairs of

 BarPoint.com. In addition to being its founder, he served as Chairman of its Board of Directors

 from 1998 through 2004. During a portion of that time he also served as its Chief Executive

 Officer. See Exhibit A.

        25.     The primary technology that BarPoint.com employed involved scanning a

 barcode with a handheld mobile device and transmitting the decoded barcode information over

 the Internet in order to search for product information (the “BarPoint.com system”). According

 to BarPoint.com’s 1999 Annual Report filed with the SEC:

                BarPoint has developed and recently launched a comparative
                shopping and consumer information Internet site utilizing

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                  proprietary reverse search technology that enables consumers to
                  search the Internet for product-specific information using universal
                  product codes, known as UPCs or barcode numbers…. The
                  BarPoint service can be accessed from a desktop computer or a
                  wide variety of Internet-enabled handheld mobile devices, such as
                  personal digital assistants (PDAs), interactive pagers and cell
                  phones. By typing or scanning the barcode number that
                  manufacturers attach to their products, consumers gain access to a
                  variety of information gathered by BarPoint on the specific
                  product….

                         ***

                  On December 6, 1999, we launched a preview version of our
                  website, www.barpoint.com, which features a patent-pending
                  search engine and software technology that allows consumers to
                  use the standard UPC barcode number that appears on what we
                  believe to be more than 100 million retail items to search for
                  product-specific information from and shop for products on the
                  Internet.

                         ***

                  The BarPoint technology can be accessed via the Internet at
                  www.barpoint.com from desktops or handheld wireless devices. It
                  is presently available on a variety of hand-held and wireless
                  devices including the Palm VII from 3COM/Palm Computing,
                  interactive pagers such as those from Research In Motion, and the
                  SPT 1500, a Palm VII with a built-in scanning device,
                  manufactured by Symbol Technologies.

                         ***

                  The BarPoint service is available through accessing
                  www.barpoint.com through which UPC barcode number searches
                  can be executed by simply typing or scanning in a UPC barcode
                  number.

 See Exhibit D.

        26.       The BarPoint system, publicly known, offered for sale, and used around 1999, is

 substantially similar to the alleged infringing activity of the Asserted Patents as characterized by

 Symbology in its Complaint:

                  The invention claimed in the [Asserted Patents] comprises a

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                method for enabling a portable electronic device to retrieve
                information about an object when the object’s symbology, is
                detected.

 See, e.g., Complaint at ¶¶ 14, 18, 22, 26.

        27.     As shown in the claim chart attached hereto as Exhibit E, the BarPoint system

 anticipates and/or renders obvious each and every element of Claim 1 of the ’752, ‘369, and ‘190

 Patents under Symbology’s characterization of the Asserted Patents’ scope, and thus is material

 and not cumulative to the information already of record during the prosecution of the Asserted

 Patents and related applications.

                        b. The Undisclosed Rothschild Patents

        28.     In addition to his firsthand involvement with BarPoint.com, Mr. Rothschild was

 identified as the sole named inventor for at least three provisional applications that disclosed the

 BarPoint.com system, including:

        (a) U.S. Serial no. 60/118,051 (“’051 provisional application”), filed Feb. 1, 1999, and
            entitled “INTERACTIVE METHOD FOR INVESTIGATING PRODUCTS”;

        (b) U.S. Serial No. 60/187,646 (“’646 provisional application”), filed Mar. 8, 2000 and
            entitled “INTERACTIVE SYSTEM FOR INVESTIGATING PRODUCTS ON A
            NETWORK THROUGH A MOBILE DEVICE”; and

        (c) U.S. Serial No. 60/185,546 (“’546 provisional application”), filed Feb. 28, 2000 and
            entitled “METHOD OF VERIFYING BARCODE/UPC NUMBERS OR OTHER
            SYMBOLOGIES AND LINKING SUCH NUMBERS TO INFORMATION ON A
            GLOBAL COMPUTER NETWORK.”

        29.     On information and belief, the ’051 provisional application became publicly

 available, such as through the USPTO’s public PAIR website, more than one year prior to the

 September 15, 2010 earliest effective filing date of the Asserted Patents, because later patent

 applications published and/or granted claimed priority to them. See Manual for Patent

 Examination Procedure (MPEP) 103 (citing 37 CFR 1.14(a)(1)(iv)-(vi)). The ‘051 provisional

 application is attached hereto as Exhibit F.

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        30.       The following disclosures in the ’051 provisional application confirm that the

 BarPoint system was offered for sale and publicly used prior to the filing dates of the ‘051

 provisional application:

              •   The ’051 provisional application provides a printout from www.barpoint.com
                  entitled “Advertising Barcode,” dated January 20, 1999, and shows:




              •   Another printout in the ‘051 provisional application from www.barpoint.com
                  entitled “Advertising Barcode Demo,” dated January 20, 1999, shows:




              •   Another printout in the ‘051 provisional application from www.barpoint.com
                  entitled “Link to Your Product’s Website,” dated January 20, 1999, shows:




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 Exhibit F.

        31.      Based on the provisional application’s disclosures and Mr. Rothschild’s firsthand

 involvement with BarPoint.com, it was known to Mr. Rothschild, his assignee Reagan

 Innovations, LLC, and/or their representatives associated with the filing and prosecution of the

 applications for the Asserted Patents, that the BarPoint system described in the provisional

 applications was offered for sale and publicly used prior to the filing dates of the provisional

 applications.

        32.      Mr. Rothschild’s representatives subsequently filed several non-provisional

 applications that claim priority to the ’051, ’646, and ’546 provisional applications, including the

 applications for U.S. Patent No. 6,430,554 (“’554 Patent”), which issued on August 6, 2002, and

 U.S. Patent No. 6,651,053 (“’053 Patent”), which issued on November 18, 2003, each of which

 names Mr. Rothschild as the sole inventor. These patents are attached hereto as Exhibits G-H.

        33.      On June 30, 2006, Mr. Rothschild filed U.S. Patent Application 2008/0004978

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 (“’978 application”) with the USPTO. The ’978 application was published January 3, 2008 and

 is attached hereto as Exhibit I.

        34.     The ’978 application disclosed “a system and method … for identifying an article

 of commerce, e.g., digital media content, and downloading all or part of content related to the

 article of commerce to mobile devices such as portable digital media players and/or mobile

 phone devices” over the Internet. Id., Paras. 0007, 0035. The ’978 application further disclosed

 capturing a barcode and decoding the barcode in order to acquire an identification code of the

 article of commerce:




 Id., Para. 0037.

        35.     The ’051, ’646, and ’546 provisional applications, the ’978 application, and the

 ’554 and ’053 Patents (collectively, the “Rothschild Patents”), each anticipates and/or renders

 obvious each and every element of Claim 1 of the ‘752, ‘369, and ‘190 Patents under

 Symbology’s characterization of the alleged infringing activity, as shown in the exemplary claim

 charts for the BarPoint system, the ’978 application, and the ’554 Patent, attached hereto as

 Exhibits E, and J-K, and thus the Rothschild Patents prior art is material and not cumulative to

 the information already of record during the prosecution of the Asserted Patents and related


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 applications.

                           c. Other Material Prior Art

        36.      Mr. Rothschild noted in the Asserted Patents’ specification that “[s]ome

 applications that may be downloaded to portable electronic devices include symbology scanning

 and/or decoding programs [including] Neomedia’s Neo Reader, Microsoft’s Smart Tags,

 Android’s Shop Savvy, Red Laser, ScanBuy, etc.” Exhibit L (’752 Patent at 3:29-33).

        37.      Mr. Rothschild, however, indicated only that these prior art systems “scan[]” or

 “decode[],” but notably failed to disclose to the USPTO that these prior art systems also capture

 a digital image of a barcode and send decoded information (such as a URL) to a remote server to

 retrieve information for display (such as a web page).

        38.      As shown in the claim charts attached as Exhibits M-N, the prior art systems

 identified in the specification, but not fully disclosed by Mr. Rothschild, anticipate and/or render

 obvious each and every element of Claim 1 of the ‘752, ‘369, and ‘190 Patents under

 Symbology’s characterization of the alleged infringing activity, and thus full disclosure of the

 prior art systems is material and not cumulative to the information already of record during the

 prosecution of the Asserted Patents and related applications.

                    2. Leigh Rothschild Deliberately Withheld Material, Non-Cumulative
                       Prior Art References During Prosecution of the Asserted Patents and
                       Related Applications

        39.      Despite Mr. Rothschild having deep knowledge of the Barpoint system, the

 Rothschild Patents, and other material, non-cumulative prior art related to technology

 Symbology alleges the Asserted Patents cover, Mr. Rothschild, his assignee Reagan Innovations,

 LLC, and/or their representatives associated with the filing and prosecution of the applications

 for the Asserted Patents did not submit or identify any prior art during the prosecution of the



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 Asserted Patents and related applications, nor did the prosecuting attorney(s) submit to the

 examiner a single Information Disclosure Statement (IDS) identifying any prior art.

        40.     The BarPoint system, the Rothschild Patents, and the prior art systems identified

 in the specification, are each material to patentability of the claims of the Asserted Patents and

 not merely cumulative over the prior art that was before the examiner.

        41.     Mr. Rothschild, Reagan Innovations, LLC, assignee of the Asserted Patents,

 and/or the representatives associated with the filing and prosecution of the applications for the

 Asserted Patents, knew of the BarPoint system, the Rothschild Patents, and the prior art systems

 identified in the specification, and, on information and belief, deliberately failed to disclose the

 prior art to the USPTO in connection with prosecuting the applications for the Asserted Patents,

 with the intent to deceive the examiner and the USPTO.

        42.     Had Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

 representatives associated with the filing and prosecution of the applications for the Asserted

 Patents made the examiner aware of the BarPoint system, the Rothschild Patents, and that the

 prior art systems identified in the specification anticipate and/or render obvious each and every

 element of Claim 1 of the ‘752, ‘369, and ‘190 Patents under Symbology’s characterization of

 the alleged infringing activity, the examiner would not have allowed the claims that issued as

 Claim 1 of each of the Asserted Patents.

                    3. By Withholding Material, Non-Cumulative Prior Art During
                       Prosecution of the Asserted Patents, Leigh Rothschild Intended to
                       Deceive the USPTO

                        a. Leigh Rothschild Lost His Interest in the BarPoint System and
                           Rothschild Patents in Late 2010

        43.     The failure of Mr. Rothschild, his assignee Reagan Innovations, LLC, and/or their

 representatives associated with the filing and prosecution of the applications for the Asserted


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 Patents to disclose the BarPoint system and the Rothschild Patents prior art, as well as other

 material prior art, was with the intent to deceive the USPTO.

        44.       Mr. Rothschild sought and obtained the Rothschild Patents claiming an alleged

 invention by which a customer scans a barcode with a handheld mobile device, and transmits the

 decoded barcode information over the Internet in order to retrieve product information on the

 mobile device.

        45.       Mr. Rothschild sought monetary gain through the founding of BarPoint.com by

 assigning the Rothschild Patents to BarPoint.com in order to commercialize the alleged

 inventions of the Rothschild Patents.

        46.       According to SEC filings, BarPoint.com initially was not a commercial success:

                  Revenue from [BarPoint.com’s wireless Internet software]
                  business was limited and decreased through 2002. In 2003, this
                  business generated no revenue and we began searching to acquire
                  another business…. Effective in August 2004 Mr. Rothschild
                  resigned as a director of the Company.

 Exhibit O (2004 SEC Annual Report, Description of Business).

        47.       On or about April 11, 2005, however, BarPoint.com sold the Rothschild Patents to

 NeoMedia Technologies, Inc. in exchange for a cash payment and royalties in the amount of

 10% of licensing proceeds generated by NeoMedia for 10 years. Id. (Intellectual Property). On

 information and belief, NeoMedia undertook an enforcement campaign that generated royalties

 due under the agreement.

        48.       BarPoint.com’s successor-in-interest subsequently declared bankruptcy, and the

 Rothschild Trust, for which Mr. Rothschild was the managing member, purportedly purchased

 the rights to the licensing proceeds generated from the Rothschild Patents. See Exhibit P




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 (Settlement Agreement). 1

        49.     On information and belief, Mr. Rothschild, and/or one or more entities he

 controlled, received compensation for licensing proceeds from the enforcement of the Rothschild

 Patents. Consequently, Mr. Rothschild remained deeply familiar with the BarPoint.com system

 and the Rothschild Patents, including their disclosures and claims.

        50.     Mr. Rothschild’s rights to benefit from the Rothschild Patents ceased in late 2010

 when he entered into a settlement agreement with NeoMedia assigning all rights in the

 Rothschild Patents to NeoMedia.

                         b. Leigh Rothschild’s Initial Attempt to Reclaim Technology
                            Disclosed in BarPoint System and Other Undisclosed Prior Art
                            Was Rejected.

        51.     On September 15, 2010, Mr. Rothschild filed a patent application that ultimately

 issued as U.S. Patent No. 7,992,773 (“’773 Patent”), entitled “SYSTEM AND METHOD FOR

 PRESENTING INFORMATION ABOUT AN OBJECT ON A PORTABLE ELECTRONIC

 DEVICE,” attached as Exhibit Q. Each of the ‘752, ‘369, and ‘190 Patents is a continuation of

 the application that led to the ’773 Patent and thus shares a common specification.

        52.     With at least one substantial exception, the general subject matter of the ’773

 Patent and the ‘752, ‘369, and ‘190 Patents is nearly identical to the BarPoint system and the

 Rothschild Patents. For example, the summary of the ’773 Patent states:

                Systems and methods are provided for allowing a user to utilize a
                portable electronic device to retrieve information about an object
                in response to the portable electronic device detecting symbology,
                e.g., a barcode, associated with the object.

 Exhibit Q at 1:56-60.

 1 Available publicly at:

 https://www.sec.gov/Archives/edgar/data/1022701/000114420410066649/v205602_e
 x10-1.htm.


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        53.     However, the ’773 Patent’s specification notes alleged problems with prior art

 barcode scanning applications:

                Some applications that may be downloaded to portable electronic
                devices include symbology scanning and/or decoding programs.
                Examples of applications that allow scanning include Neomedia's
                Neo Reader, Microsoft's Smart Tags, Android's Shop Savvy, Red
                Laser, ScanBuy, etc. However, when a user wishes to scan an
                object, the user must then select an application on the portable
                electronic device that is capable of accomplishing the desired
                functions. Since a user may have dozens of applications loaded
                on his or her portable electronic device, it may be difficult to
                select the appropriate application for executing the scanning
                functions.

 See, e.g., id. at 3:20-30 (emphasis added).

        54.     In the specification, Mr. Rothschild thus proposed a solution wherein the alleged

 improvement over the prior art barcode scanning applications involves “one or more visual

 detection systems [that] are run in the background of the device, where other programs or

 systems are given priority with respect to processing steps over the one or more visual detection

 systems.” Id. at 11:63-66 (emphasis added). “If a background application detects decodable

 symbology… the detected symbology is sent to one or more pre-selected visual detection

 applications for decoding and information retrieval.” Id. at 12:19-33 (emphasis added).

        55.     Notwithstanding this purported inventive feature, Mr. Rothschild initially

 attempted to prosecute independent claim 1 of the patent application that ultimately issued as the

 ’773 Patent without this limitation and covering only that which BarPoint and other prior art

 barcode scanning applications disclosed.

        56.     At no point during the prosecution of the ’773 Patent or the continuation

 applications did Mr. Rothschild disclose to the USPTO the BarPoint system, the Rothschild

 Patents, or the full capabilities of the prior art barcode scanning applications identified in the



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 specification.

        57.       In the December 2010 Non-Final Rejection, the examiner rejected claim 1 under

 35 U.S.C. 102(b) as being anticipated by Fitzpatrick et al. (2008/0201310) (“Fitzpatrick”), which

 disclosed all of the limitations in the originally-drafted version of claim 1:




 See Exhibit R (’773 File History, December 27, 2010 Non-Final Rejection at 2-3).

        58.       To overcome the December 2010 rejection, Mr. Rothschild narrowed claim 1 of

 the ‘773 Patent to include the purportedly novel feature identified in the specification:



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 See Exhibit S (’773 File History, January 13, 2011 Claim Amendment).

         59.     In the March 2011 Notice of Allowance, the examiner expressly noted that the

 prior art taught:

         (a) detecting a symbology associated with an object;

         (b) decoding the symbology to obtain a decode string;

         (c) sending the decode string to a remote server for processing;

         (d) receiving information from the server; and

         (e) displaying the information on a display device.

 See Exhibit T (’773 File History, March 28, 2011 Notice of Allowance at 2-3).

         60.     In the March 2011 Notice of Allowance, the examiner confirmed that the

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 purported “novelty” of the invention as allowed in claim 1 of the ‘773 Patent was the visual

 detection systems that run in the background and detect the symbology associated with an object:




 Id. at 3.

         61.    As a result of the patentee’s amendment to claim 1, every independent claim of

 the ’773 Patent includes the limitation in which a “background” visual detection system

 “automatically” decodes “symbology” and sends the decode string to another “visual detection

 application” residing on the portable device.

                        c. Mr. Rothschild Intentionally Omitted the Limitations Found in
                           Claim 1 of the ’773 Patent During Prosecution of the ‘752, ‘369,
                           and ‘190 Patents in Order to Recapture the Scope of the
                           BarPoint.com System He No Longer Controlled

         62.    Despite the purported novelty identified in the specification and by the examiner

 during prosecution of the parent application, Mr. Rothschild, his assignee Reagan Innovations,

 LLC, and/or their representatives associated with the filing and prosecution of the applications

 for the ‘752, ‘369, and ‘190 Patents, undertook a concerted effort to omit the limitation related to

 the alleged improvement that had been expressly included in claim 1 of the ‘773 Patent in order

 to overcome the examiner’s rejection based on anticipation grounds.

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        63.     Unlike claim 1 of the ’773 Patent, independent Claim 1 of the ’752, ‘369, and

 ‘190 Patents does not include the limitation that requires a “background” system that “decod[es]

 the symbology to obtain a decode string” and “send[s]the decode string to one or more visual

 detection applications for processing.”

        64.     On information and belief, Mr. Rothschild’s goal during prosecution of the

 Asserted Patents was to broaden the independent claims in the continuation applications to

 recapture the scope of the invention related to the BarPoint system that he had assigned to

 NeoMedia and for which, as of 2010, he no longer had rights to exploit. Mr. Rothschild would

 not have been able to achieve this goal if he disclosed the BarPoint system, the Rothschild

 Patents, and the full capabilities of the prior art barcode scanning applications identified in the

 specification, to the examiner during the Asserted Patents’ prosecution before the USPTO.

        65.     Had Mr. Rothschild, his assignee Reagan Innovations, LLC, or their

 representatives associated with the filing and prosecution of the applications for the Asserted

 Patents made the examiner aware of the undisclosed, material, non-cumulative prior art in Mr.

 Rothschild’s possession, the examiner would not have allowed the claims that issued as Claim 1

 of each of the Asserted Patents.

        66.     Mr. Rothschild, his assignee Reagan             Innovations,   LLC,     and/or their

 representatives associated with the filing and prosecution of the applications for the Asserted

 Patents intended to deceive the USPTO by intentionally failing to disclose the BarPoint system,

 the Rothschild Patents, and the full capabilities of the prior art barcode scanning applications

 identified in the specification, in order to recapture patent rights to subject matter Mr. Rothschild

 no longer controlled.




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                                      PRAYER FOR RELIEF

        WHEREFORE, Mattel asks this Court to enter judgment in Mattel’s favor and against

 Symbology by granting the following relief:

        a)      a declaration that the Asserted Patents are invalid;

        b)      a declaration that Mattel does not infringe, under any theory, any valid claim of

 the Asserted Patents that may be enforceable;

        c)      a declaration that the Asserted Patents are unenforceable;

        d)      a declaration the Symbology take nothing by its Complaint;

        e)      judgment against Symbology and in favor of Mattel;

        f)      dismissal of the Complaint with prejudice;

        g)      a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award

 to Mattel of its costs and attorneys’ fees incurred in this action; and

        h)      further relief as the Court may deem just and proper.

                                          JURY DEMAND

        Mattel hereby demands trial by jury on all issues.




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 Dated: March 17, 2017                             Respectfully submitted,


                                               By: /s/ Eleanor T. Barnett
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                               CERTIFICATE OF SERVICE

    The undersigned hereby certifies that a true and correct copy of the above and foregoing

 document has been served on March 17, 2017, to all counsel of record who are deemed to have

 consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                               /s/ Eleanor T. Barnett
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